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                                  No. 23-10362


               In the United States Court of Appeals
                       for the Fifth Circuit
                  ALLIANCE FOR HIPPOCRATIC MEDICINE, et al.,
                                                          Plaintiffs-Appellees,
                                        v.
                  U.S. FOOD AND DRUG ADMINISTRATION, et al.,
                                                          Defendants-Appellants,
                                       and
                          DANCO LABORATORIES, LLC,
                                                          Intervenor-Appellant.

On Appeal from the United States District Court for the Northern District of Texas,
  Amarillo Division, Case No. 2:22-cv-00223-Z, Judge Matthew J. Kacsmaryk

  REPLY IN SUPPORT OF INTERVENOR-APPELLANT’S EMERGENCY
 MOTION TO STAY PRELIMINARY INJUNCTION PENDING APPEAL AND
FOR A TEMPORARY ADMINISTRATIVE STAY PENDING CONSIDERATION
                         OF MOTION

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                                INTRODUCTION

      Mifepristone has been approved for decades and used safely by over 5 million

women. Plaintiffs defend the District Court’s unprecedented decision to second-

guess FDA’s longstanding approval of this drug with rhetoric, instead of precedent

or legal principles. For Danco to be likely to succeed on appeal, it must be right on

just one of the following: standing; limitations; exhaustion; FDA’s obligations under

the Food, Drug and Cosmetic Act (“FDCA”); the impropriety of a non-expert judge

second-guessing or ignoring FDA’s detailed scientific analysis and re-weighing its

risk-benefit analysis; the impropriety of ignoring FDA’s reasoning; or the

impropriety of using a mandatory injunction to negate a longstanding drug approval–

all before even reviewing the administrative record.

      Plaintiffs’ standing arguments conflict with Supreme Court precedent at every

stage. Their limitations argument transforms the “reopening” doctrine from an

exception to the rule every time an agency adjusts its oversight of a product or

project, and their exhaustion argument changes the narrow futility exception into a

“didn’t feel like it” exception. Plaintiffs’ APA merits arguments misrepresent

FDA’s statutory obligations and openly buck the agency’s decades of considered

conclusions that mifepristone is safe and effective—allowing a single judge to both

freely second-guess an expert agency and dictate a rigid view of FDA approval that

every drug on the market would flunk. And their Comstock Act argument would



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require agencies to scour the capacious U.S. Code and affirmatively address any

statute that might possibly bear on an agency action—even when Congress

specifically limited that agency’s discretion.

       Absent a stay, women across the nation will face serious, unnecessary health

risks from the elimination of access to a drug FDA has repeatedly deemed safe and

effective and that is the standard of care. The biopharmaceutical industry would be

upended by the instability caused by the District Court’s approach. The list goes on:

the court’s order will wreak havoc on States’ sovereign interests, the separation-of-

powers, the entire healthcare system, and Danco. The Court should grant the stay.

      Plaintiffs’ last-ditch argument to avoid a stay by claiming the District Court’s

order is not appealable is a give-away of the weaknesses in the order and their

argument. A district court cannot shield its order from appellate review by using the

word “stay.” Nor did the court here try to. It understood the order was appealable

and gave the parties seven days to seek emergency relief from this Court. Op. 67;

Abbott v. Perez, 138 S. Ct. 2305, 2319 (2018) (“‘practical effect’ of granting or

denying an injunction” governs, not “label”). If there is any doubt, the Court should

grant the stay and refer Plaintiffs’ motion to the merits panel or enter an

administrative stay to allow Appellants to fully oppose Plaintiffs’ motion to dismiss.




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                                   ARGUMENT

I.    DEFENDANTS WILL LIKELY PREVAIL ON APPEAL.

      A.      Plaintiffs Lack Standing.

      To satisfy Article III, “threatened injury must be certainly impending,”

Clapper v. Amnesty Int’l USA, 568 U.S. 398, 410 (2013), meaning “sufficiently

imminent and substantial,” TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2210

(2021).     A theory “reli[ant] on a highly attenuated chain of possibilities” or

“speculation about ‘the unfettered choices made by independent actors not before

the court’” does not suffice. Clapper, 568 U.S. at 410, 414 n.5. There must be “a

real and immediate threat” of future harm to have standing for injunctive relief. City

of Los Angeles v. Lyons, 461 U.S. 95, 105 (1983). Just as allegations of “past injury”

“do[] not suffice,” Summers v. Earth Island Inst., 555 U.S. 488, 493-495 (2009),

neither does “a statistical probability” that some (unidentified) Plaintiff-physician

will treat some (unidentified) patient who visits some (unidentified) hospital for

post-medication abortion follow-up care some (unidentified) time in the future. Id.

at 497.

      Plaintiffs do not attempt to show how their vague allegations satisfy these

rigorous standards: Because their standing theory relies on a series of links between

FDA’s regulations and a chain of other people’s independent and unpredictable

decisions, Plaintiffs just repeat the District Court’s false paradigm that past harm



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proves a likelihood of future harm, ignoring that Summers and Lyons expressly reject

that.

        These failures doom Plaintiffs’ associational standing argument. See Hunt v.

Washington State Apple Advertising Comm’n, 432 U.S. 333, 343 (1977) (association

members must have standing “in their own right”). Plaintiffs’ assertions about an

“overwhelm[ed] . . . medical system” and “potential liability” lack footing even in

past injury, and a claimed inability to practice “evidence-based medicine” is

contradicted by the fact that they do not prescribe mifepristone. Opp’n 10.

        Plaintiffs’ organizational standing theory amounts to a claim they diverted

resources from disagreeing with abortion, to disagree with abortion. Opp’n 9. The

only case they cite, Texas State LULAC v. Elfant, 52 F.4th 253, 255-256 (5th Cir.

2022), denied organizational standing where plaintiffs made similarly “vague

assertions that they diverted resources.” And their mention of time spent on citizen

petitions contravenes precedent and common sense: Self-inflicted pre-litigation

expenses cannot provide organizational standing for injunctive relief. NAACP v.

City of Kyle, 626 F.3d 233, 236 (5th Cir. 2010). If it were otherwise, organizations

could always manufacture standing just by preparing to sue.

        Plaintiffs also fundamentally misunderstand third-party standing. To claim

third-party standing, Plaintiffs must first establish their own. Powers v. Ohio, 499

U.S. 400, 410-411 (1991). As explained, they cannot. Nor do they have standing to


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sue on behalf of the tiny fraction of women who may suffer adverse events from

medication abortions. Physicians who fundamentally oppose medication abortions

and patients who sought medication abortions lack the sort of aligned interests that

third-party standing requires; their interests are diametrically opposed. Plaintiffs do

not dispute that without aligned interests, no close relationship exists.

      B. Plaintiffs’ Claims Are Unreviewable.

      Plaintiffs do not dispute: (1) Even if FDA reopened the 2000 approval in 2016,

Plaintiffs sued more than six years later; (2) the 2019 petition denial cannot plausibly

support reopening; and (3) their challenge to the 2021 non-enforcement decision is

moot given the 2023 REMS. Mot. 10-12.

      Their response to Danco’s other arguments speaks volumes.

      FDA’s 2021 actions did not reopen FDA’s 2000 conclusion that mifepristone

is safe and effective. FDA in 2021 did not “significantly alter[]” the incentive to

seek judicial review or the “stakes” of doing so. Sierra Club v. EPA, 551 F.3d 1019,

1025-26 (D.C. Cir. 2008). Plaintiffs had a sufficient incentive to and did challenge

the 2000 approval in their 2002 petition. They simply waited too long to sue over

FDA’s petition denial.

      Plaintiffs also are not entitled to equitable tolling. They make no suggestion

they meet the doctrine’s reasonable-diligence or extraordinary-circumstances

requirements. See Menominee Indian Tribe of Wisconsin v. United States, 577 U.S.



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250, 255, 257 (2016). That FDA did not deny their petition for years was to

Plaintiffs’ benefit; the statute of limitations only started running in 2016. They were

not reasonably diligent after that, and no extraordinary circumstances prevented

them from suing before March 2022. Plaintiffs could have sued earlier—to compel

agency action or to assert the petition had been effectively denied. 5 U.S.C. § 706(1).

Equitable tolling is not a substitute for an available statutory remedy.

      Plaintiffs’ litany of exhaustion excuses is baseless. The cases they cite

declined to excuse the failure to exhaust, explaining that “exceptions to

administrative exhaustion apply only in extraordinary circumstances.”             Gulf

Restoration Network v. Salazar, 683 F.3d 158, 176 (5th Cir. 2012) (cleaned up); see

Gardner v. Sch. Bd. Caddo Par., 958 F.2d 108, 112 (5th Cir. 1992). A belated

challenge to a longstanding drug approval is not such a circumstance.

      C. Plaintiffs’ Claims Lack Merit.

          1. FDA’s actions were not arbitrary and capricious.

      1. Plaintiffs have no answer—none—to the fact that the initial use of Subpart

H for distribution restrictions has no legal significance today.           They claim

Congress’s decision to create a new regulatory framework in 2008 is irrelevant

because FDA still had to comply with that authority. Opp’n 19-20. It did. In 2011,

FDA exercised its new authority to approve Danco’s REMS as the governing

distribution restrictions. ECF No. 1-30 at 2. When FDA did so, it transferred



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Mifeprex’s approval from authorized by 21 U.S.C. § 355 to its new authority under

21 U.S.C. § 355-1. Id.; see also 240 Members of Congress Br. 11-12.        Subpart H

is irrelevant to mifepristone’s REMS-based approval.

      Plaintiffs do not defend the District Court’s view that “meaningful therapeutic

benefit” can be analyzed based only on clinical trials comparing treatments, because

it is wrong. Pharmaceutical Companies, Executives, and Investors Br. 16-18. They

point to one article and one comment during FDA’s review. Opp’n 18-19. The

article finds medical abortion “safe” and “associated with a low level of serious

complications.” ECF 1-17 at 5, 10. And the commenter concluded that “the U.S.

clinical trials confirm the safety and efficacy of mifepristone and misoprostol.” ECF

No 28-1 at 261.

      2. Plaintiffs’ remaining FDCA-based arguments are equally flawed. The

FDCA impose no rigid matching requirement between clinical trials and labeling or

labeling changes. See Pharmaceutical Companies, Executives, and Investors Br. 15-

16, 18-19. Such a rule would upend the entire system for drug approval, stifle

innovation, and delay critical care for patients by effectively precluding any drug

approval. Id. Plaintiffs’ bold insistence that FDA “violated” the FDCA by not

including an ultrasound requirement cites no statute and ignores FDA’s explanation

for allowing providers to use their medical judgment. ECF No. 1-28 at 19-21. On

adverse events, too, Plaintiffs ignore that FDA eliminated heightened nonfatal-


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adverse-events reporting based on analysis of sixteen years of data, ECF No. 1-44 at

21, leaving Danco subject to the same adverse-event reporting applicable to every

drug manufacturer, ECF No. 28-1 at 13. The District Court disagreed with FDA’s

scientific judgment rather than analyzing whether it was supported by substantial

evidence, the APA standard.

         2. There is no Comstock Act violation.

Neither Plaintiffs nor the District Court can point to a single case holding an one

agency violated the APA by limiting itself to the issue assigned to it—here,

mifepristone’s safety and efficacy—and not addressing the potential applicability of

a any statute in the U.S. Code that might govern some aspect of a regulated entity’s

operations. The Comstock Act does not supplant or alter the FDCA’s mandate that

the agency only consider specific factors bearing on a drug’s safety and efficacy in

making approval decisions. 21 U.S.C. § 355(d) .

      FCC v. NextWave Personal Communications, Inc., 537 U.S. 293 (2003) does

not obligate FDA to search out and affirmatively address the Comstock Act. The

statute there expressly limited actions by any “governmental unit”; after NextWave

asked the agency to comply with it, the Court held the FCC was bound to do so. Id.

at 300–01 (2003). Comstock is not directed at FDA, Plaintiffs did not direct FDA

to Comstock, and FDA routinely approves drugs subject to restrictions under statutes




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or regulations FDA does not administer. See Former DOJ Officials Amicus Br. 3-

8.

       Plaintiffs say that the Circuits’ uniform interpretation of Comstock and

Congress’s direction that mifepristone be deemed to have a REMS in place in 2008

do not matter. That is wrong, for the reasons articulated by OLC and because “even

under the court’s erroneous broad interpretation, the Comstock laws still permit non-

in-person distribution of mifepristone under some circumstances.” Id. at 8-22.

Moreover, the APA does not create a roving private-attorney-general commission to

second-guess DOJ’s criminal-law interpretation any more than it does to second-

guess FDA’s scientific determinations.

II.    THE EQUITIES AND PUBLIC INTEREST STRONGLY SUPPORT A STAY.

       Absent a stay, Danco faces substantial, certain, existential economic harm.

See Long Decl. ¶¶ 6, 11, 12. The District Court ignored this fact. Plaintiffs do not

dispute it.

       A stay is also in the public interest. Without a stay, women face serious health

risks and the denial of access to essential medical care, including both use of

mifepristone on-label for medication abortion and use off-label for miscarriage

management, to reduce the duration of bleeding during certain serious pregnancy

complications, and for maternal health purposes. See, e.g., Medical and Public




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Health Societies Br. 20-21.1 For many women, “medication abortion is by far the

safest and most accessible option.” Id. at 17.

      Absent a stay, women will be pushed to more invasive, burdensome, surgical

abortions; to an unapproved misoprostol-only regimen that requires follow-up care

more frequently and has more side effects; or to carrying unwanted or unviable

pregnancies—which itself causes psychological and physical harm. E.g., Physicians

for Reproductive Health Br. 17-23; Reproductive Health, Rights, and Justice

Organizations Br. 10-19. Neither the District Court nor Plaintiffs accounts for these

harms. Yet, FDA’s analysis of the data showed that for over 96% of women,

medication abortion is a complete treatment, ECF 28-1 at 33-37 (reviewing 20-plus

studies), and that for over 99.9%, there would be no serious adverse event, id. at 52,

61, 87-90 (reviewing fifteen years of adverse event reports).

      The biopharmaceutical industry will also be significantly harmed absent a

stay: Under the District Court’s “novel, unworkable standards,” it is unlikely that a

single drug currently on the market is approvable. Pharmaceutical Companies,

Executives, and Investors Br. 10, 22. The decision will “chill crucial research and

development, undermine the viability of investments in this important sector, and


1Plaintiffs suggest “off-label use is not at issue.” Opp’n 26. Of course it is. Without
an approved on-label use, there can be no off-label use. And they misrepresent that
FDA rejected miscarriage management as a new indication; the petition denial they
cite says no such thing. FDA, Agency Response Letter to ACOG (Jan. 3, 2023),
https://perma.cc/24HJ-K6SF.

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wreak havoc on drug development and approval generally, causing widespread harm

to patients, providers, and the entire pharmaceutical industry.” Id. at 3, 10-14, 16-

18.

      The court’s order also harms States’ sovereign interests and the separation-of-

powers. Dobbs consciously “returned the issue of abortion to the people’s elected

representatives.” Dobbs v. Jackson Women’s Health Org., 142 S. Ct. 2228, 2243

(2022). The injunction eviscerates that sovereign authority for States that “wish to

protect rather than restrict abortion access,” see New York et al. Amicus Br. 3, 8;

imposes “heightened health and economic costs” on local governments, see Local

Governments’ Br. 1-2; and upsets Congress’s decision to assign FDA responsibility

for safety and efficacy determinations, which courts review for substantial evidence

and with significant deference, see 240 Members of Congress Amicus Br. 4-8.

      The injunction’s consequences will ripple across the entire healthcare system.

Medication abortion reduces the burdens on our healthcare system; staying or

suspending its approval “threaten[s] to overwhelm” those systems, as increased

demand for surgical abortion will limit the availability of other critical health care

services the same physicians provide, such as pre- and post-natal care, contraceptive

care, and cancer screening. New York et al. Br. 12-13; Medical & Public Health

Societies Br. 5.




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      An injunction that causes these harms is not in the public interest for

additional reasons that Plaintiffs never dispute: (1) remand without vacatur is the

remedy in APA cases like this one, precisely to avoid the disruption the injunction

order will cause, and (2) mandatory preliminary injunctions are especially

disfavored. Mot. 20-21.

      That leaves whether Plaintiffs face irreparable harm from a stay pending

appeal. They do not. Their opposition spends only 45 words, total, on this issue.

Opp’n 28. A doctor’s job is to treat patients—regardless of whether the doctor

agrees with the patient’s choices causing a need for care (smoking, legal (or illegal)

drugs, poor nutrition); no Plaintiff-physician factually demonstrated a concrete or

imminent personal risk of having to treat a patient experiencing an adverse event

from mifepristone. And Plaintiffs dilatory actions undermine any claimed

irreparable injury from a stay pending appeal.




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                         CONCLUSION

Danco’s stay motion should be granted.

                                   Respectfully submitted,

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                      CERTIFICATE OF COMPLIANCE

      I hereby certify that this motion complies with the requirements of Federal

Rule of Appellate Procedure 27(d) because it has been prepared in 14-point Times

New Roman, a proportionally spaced font. I further certify that this motion complies

with the type-volume limitation of Federal Rule of Appellate Procedure 27(d)(2)

because it contains 2,600 words, according to the count of Microsoft Word.

                                          /s/ Jessica L. Ellsworth
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                        CERTIFICATE OF SERVICE

      I hereby certify that, on April 12, 2023, I electronically filed the foregoing

emergency motion for stay pending appeal with the Clerk of Court by using the

appellate CM/ECF system. I further certify that the participants in the case are

CM/ECF users and that service will be accomplished by using the appellate CM/ECF

system.


                                         /s/ Jessica L. Ellsworth
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